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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

   IN RE:                                       CASE NO. 23-15483-LMI

   ATLANTIC RADIO TELEPHONE,                    CHAPTER 11
   INC.,

            Debtor.


    DEBTOR’S OMNIBUS MOTION FOR ENTRY OF ORDER AUTHORIZING
ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS PURSUANT TO
   11 U.S.C. § 365 AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 6006

            THIS MOTION IS AN OMNIBUS MOTION TO ASSUME CERTAIN
            EXECUTORY CONTRACTS. PLEASE LOCATE YOUR NAME AND
            INFORMATION LISTED ON THE ATTACHED EXHIBIT “A”
            INCLUDING, WITHOUT LIMITATION, FOR PURPOSES OF
            DETERMINING WHETHER THE DEBTOR BELIEVES THAT ANY CURE
            AMOUNT IS OWED AS A CONDITION TO ASSUMING SUCH
            EXECUTORY CONTRACT.


       COMES NOW the Debtor, ATLANTIC RADIO TELEPHONE, INC., by and through its

undersigned counsel, and files this Omnibus Motion for Entry of Order Authorizing Assumption

and Assignment of Executory Contracts Pursuant to 11 U.S.C. § 365 and Federal Rule of

Bankruptcy Procedure 6006 (the “Motion”), and states as follows:

                                GENERAL BACKGROUND

       1.      On July 13, 2023, the Debtor filed a voluntary petition under Chapter 11 of Title

11 of the United States Code. The Debtor remains in possession of its assets and is operating its

business as a debtor-in-possession pursuant to the authority of 11 U.S.C. §§ 1107 and 1108.

       2.      On June 10, 2024, the Court issued the Order Granting Debtor’s Motion for the

Entry of Order (A) Authorizing the Sale of Debtor’s Assets Free and Clear of Claims, Liens,

Interests, and Encumbrances; (B) Authorizing Assumption and Assignment of Designated


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Executory Contracts and Unexpired Leases; and (C) Granting Related Relief [ECF No. 198] (the

“Sale Order”).

       3.        In accordance with the Sale Order, the Court authorized, among other things, the

assumption and assignment of certain executory contracts designated by the Purchaser.

       4.        In further accordance with the Sale Order, the Court made the following finding

and conclusion with respect to previously designated executory contracts:

       The Purchaser has provided adequate assurances of future performance under the Assumed

Agreements pursuant to section 365(b)(1) of the Bankruptcy Code, including that Network

Innovations US Inc. (the “Guarantor”) shall serve as guarantor of all obligations of Purchaser under

the Assumed Agreements from and after Closing. The proposed assumption and assignment of the

Assumed Agreements satisfies the requirements of the Bankruptcy Code, including, inter alia,

sections 365(b)(1) and 365(b)(3) of the Bankruptcy Code to the extent applicable.



See Sale Order, p.12, ¶16.

       5.        Although not originally designated, the Purchaser has identified additional

contracts to be assumed and assigned by the Debtor. These agreements are identified on the

attached Exhibit “A” (collectively, the “Agreements”).

                                     RELIEF REQUESTED

       6.        The Debtor respectfully requests that the Court (a) authorize the Debtor’s

assumption and assignment of the Agreements to the Purchaser, (b) find and determine the

Purchaser has or can provide adequate assurances of future performance, as previously noted in

the Sale Order, and (c) determine that the cure amounts disclosed on the attached Exhibit “A” are

binding on the parties in the absence of any objection.



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                          ARGUMENTS AND LEGAL AUTHORITY
                               IN SUPPORT OF RELEF

       7.      Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the

court’s approval, may assume or reject any executory contract or unexpired lease.” 11 U.S.C. §

365(a). Courts routinely approve motions to assume contracts or unexpired leases upon a showing

that the debtor’s decision to take such action will benefit the debtor’s estate and is an exercise of

sound business judgment. See Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36

(3d Cir. 1989); In re H.M. Bowness, Inc., 89 B.R. 238 (Bankr. M.D. Fla. 1988) (“Ordinarily, the

decision to assume or reject an executory contract is left entirely to the debtor. Upon proper motion,

the court should give perfunctory approval of the decision subject only to review under the

business judgment rule”).

       8.      Courts generally do not second guess a debtor’s business judgment concerning the

assumption of an executory contract or unexpired lease. See In re Trans World Airlines, Inc., 261

B.R. 103 (Bankr. D. Del. 2001); Lubrizol Enters., Inc. v. Richmond Metal Finishers, Inc., 756 F.2d

1043 (4th Cir. 1985); In re Health Science Products, Inc., 191 B.R. 895 (Bankr. N.D. Ala. 1995)

(the “Issue thereby presented for determination by the bankruptcy court is whether the decision of

the debtor is so manifestly unreasonable that it could not be based on sound business judgment,

but only on bad faith, whim, or caprice”).

       9.      The Debtor believes the proposed assumption and assignment of the Agreements

in the best interests of the estate, as the Purchaser has identified and requested that the Agreements

be assumed and assigned as part of the transaction approved by the Sale Order.

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       10.     Section 365(b) provides that, in the event of a default, the Debtor must cure, or

provide adequate assurance of their ability to cure, any default, as well as provide adequate

assurance of their ability to perform in the future under the executory contract or unexpired lease.

       11.     The Debtor does not believe that any defaults exist under the Agreements and,

therefore, no cure amount is necessary. Furthermore, the meaning of “adequate assurance of future

performance” depends on the facts and circumstances of each case, but should be given “practical,

pragmatic construction.” See Carlisle Homes, Inc. v. Arrari (In re Carlisle Homes, Inc.), 103 B.R.

524, 538 (Bankr. D.N.J. 1989); see also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y.

1985) (adequate assurance of future performance does not mean absolute assurance).

       12.     Among other things, adequate assurance may be given demonstrating that the

assignee’s financial health and experience in managing the type of enterprise or property assigned.

See In re Bygaph, Inc., 56 B.R. 596, 605-606 (Bankr. S.D.N.Y. 1986) (adequate assurance of future

performance is present when prospective assignee has financial resources and expressed

willingness to devote sufficient funding to business to give it a strong likelihood of succeeding).

       13.     Here, the Court has already determined that the Purchaser can and has provided

adequate assurance of future performance, including, without limitation, by virtue of the guarantee

provided by Network Innovations US Inc.

       14.     Consequently, the Debtor can demonstrate adequate assurances of future

performance.




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       WHEREFORE, the Debtor respectfully requests that the Court enter an order granting the

Motion, the proposed form of which is attached to this Motion as Exhibit “B”, as well as granting

any other and further relief that the Court may deem just and proper.

                                             SEESE, P.A.
                                             Attorneys for Debtor-in-Possession
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                                             Ft. Lauderdale, Florida 33301
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                                             By: _____s/Michael D. Seese
                                                    Michael D. Seese, Esq.
                                                    Fla. Bar No. 997323




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been

served electronically via CM/ECF upon all parties entitled to receive electronic notice on the

date filed.

                                                      /s/ Michael D. Seese, Esq.
                                                              Michael D. Seese
                                                              (FBN 997323)




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                     EXHIBIT “A”

                    List of Agreements




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                                       AGREEMENTS




          Counterparty                  Type of Contract                   Cure Amount


Affirm                           Third Party Financing Company –   $0.00
650 California Street            option included on the Debtor’s
FL 12                            website
San Francisco, CA 94108-2716


Authorize.net                    Payment Processing                $0.00
PO Box 8999
San Francisco, CA 94128-8999


Amazon.com                       Seller central account            $0.00
PO Box 81226
Seattle, WA 98108


Comcast                          Internet                          $0.00
1701 JFK Boulevard
Philadelphia, PA 19103


FreedomPay, Inc.                 Payment Processing                $0.00
Attn: Contract Admin
FMC Tower at Cira Centre South
2929 Walnut Street
Floor 14
Philadelphia, PA 19104


Iridesco (d/b/a Harvest)         IT system - scheduling            $0.00
2248 Broadway
#1103
New York, NY 10024


Microsoft                        IT Software                       $0.00
920 Fourth Avenue
Suite 2900
Seattle, WA 95104
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                     EXHIBIT “B”


                     Proposed Order
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

     IN RE:                                   CASE NO. 23-15483-LMI

     ATLANTIC RADIO TELEPHONE, INC.,          CHAPTER 11

              Debtor.


                                ORDER GRANTING
        DEBTOR’S OMNIBUS MOTION FOR ENTRY OF ORDER AUTHORIZING
    ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS PURSUANT TO
       11 U.S.C. § 365 AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 6006

        THIS MATTER came before the Court on ______________________, 2024 upon the

scheduled hearing (the “Hearing”) on the Debtor’s 1 Omnibus Motion for Entry of Order

Authorizing Assumption and Assignment of Executory Contracts Pursuant to 11 U.S.C. § 365 and



1
 Unless defined herein, defined terms shall have the meanings ascribed to such terms in the
Motion.
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Federal Rule of Bankruptcy Procedure 6006 [ECF No. ] (the “Motion”), and the Court, having

reviewed the file, having found good and sufficient cause exists in support of the relief requested,

based on the entire record of the Hearing, and being otherwise fully advised in the premises, it is

       ORDERED as follows:

       1.       The Motion is GRANTED as provided herein.

       2.       The Debtor is authorized to assume and assign the Agreements to the Purchaser.

       3.       The Cure Amounts included on Exhibit “A” to the Motion are binding on the parties

to the Agreements. The counterparties to the Agreements shall be, and hereby are, forever barred

and enjoined from raising and asserting any claims against the Purchaser, the Debtor, or the

Debtor’s estate, including, where applicable, based on cure claims arising from, or relating to, the

Agreements.

       4.       To the extent necessary, the automatic stay in effect pursuant to 11 U.S.C. § 362(a)

is modified for purposes of implementing the provisions of this Order.

       5.       The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

                                                ###

Submitted by:

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Telephone No.: (954) 745-5897
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Copies to:

Michael D. Seese, Esq., who is directed to serve a copy of this Order upon all non-registered users
or registered users who have yet to appear electronically in this case and file a conforming
certificate of service.



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